             THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     ASHEVILLE DIVISION
            CRIMINAL CASE NO. 1:12-cr-00066-MR-DLH


UNITED STATES OF AMERICA        )
                                )
                                )
                   vs.          )               ORDER
                                )
                                )
(3) NANCY DIRAFFAELE and        )
(4) GARY HOFFMAN.               )
_______________________________ )

     THIS     MATTER     is    before   the   Court   on   the    Government’s

Supplemental Motion for Preliminary Order of Forfeiture [Doc. 103].

     Upon review of the motion, the Court enters the following Order.

     IT IS, THEREFORE, ORDERED that within fourteen (14) days of the

entry of this Order, the Defendants may file any response they may have to

the Government’s Supplemental Motion for Preliminary Order of Forfeiture

[Doc. 103].

     IT IS SO ORDERED.




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